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Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on September 2, 2016, leaving intact and in
effect for each named person the term of supervised release imposed by the court With all its
conditions and all other components of each respective sentence:

Jasmine Allen Reg. No. 31732-018
Timothy Antjuan Augustus Reg. No. 568()0-083
Steven Bernard Boyd Reg. No. 09749-021
Donald Brooks Re_g. No. 52640-019
Charles C. Brown . Reg. No. 05335~070
Aundra Coats Reg. No. 39593-060
Dwayne Berman Cooper Reg. No. 18599-018
Marion Clarence Cooper Reg. No. 89302-071
Vernon Copeland Reg. No. 41458-019
Roberto Antonio Davila, Reg. No. 55777-098
aka Robert Davila
Efrem Rahoman I)ouglas Reg. No. 20532-074
Roy Geer Reg. No. 36439-004`
Christopher Gulley Reg. No. 03846-01.7
Antonio Nicholas Hill Reg. No. 13749-171
Corey D. Howard Reg. No. 07456-028
George Howard Jones Reg. No`. 15818-056
Joseph John Jones . Reg. No. 49186-018
Tv`vaine Jones Reg. No. 05095-025
Kenneth W. Kemp Reg. No. 35168-054
`Ohara Linear Laws Reg. No. 45019-079
Trevis Love Reg. No. 20372-0'/'4
Leonard Mason Reg. No. 613 l 9-066
Christopher Dale Masters Reg. No. 04336-`063
Stanford Mathis Reg. No. 9_0582-02.0
Maurice Matthews Reg. No. 29923-()34
Jerome Lee Menefee Reg. No. 30632-112
Michelle Miles Reg. No. 48851-053
Cintheia Denise Parra Reg. No. 12278-042
Gerardo Gilberto Rivera Reg. No. 41155-179
Alberto A. Rosales, Sr. Reg. No. 24137-0(_)4
Artrez Nyroby Seymour Reg. No. 15105-_045
Larry Sirnrnons Reg. No. 04229-021
Lavelle Span ` Reg. No. 04235-090
.]erome Clarence Sumral Reg. No. 18935-1_12
Golden Sutton ` Reg. No. 067__'98-028
John Herbert Talley Reg. No. 14418-(174
Dei'rick Terry Reg. No. 205 27-424
David Anthony Trotter Reg. No. 03204-0_17

Jedrek W. Underwood Reg. NO. 15973-`179

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Chela H. Urbina, Reg. NO. 30319-004

aka Graciella Urhina
Fulton Leroy Washington, Reg. No. 08204-112
aka Larry Williams Scott
Bill WeStCOtt Reg. No. 24466-034
Wayland Thomas Wilson R@g_ NO_ 23027_077

I hereby further commute the total sentence of imprisonment each of the following
persons is now serving to expire on May 5, 2017, leaving intact and in effect for each named
person all other components of each respective sentence I also direct the Bureau of Prisons to
place each of the following persons on one year of pre-release custody:

Eddie Brown 7 Reg. No. 15024-016
Thomas Farmer Reg. No. 05424-032

l hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on May 5 , 2018, leaving intact and in effect for each
named person the term of supervised release imposed by the court with all its conditions and all
other components of each respective sentence l also direct the Bureau of Prisons to make
immediately available to each named person the Residential Drug Abuse Program:

Shalmon Lee Blake Reg. No. 09753-091
Jacob George Colbert Reg. No. 11822-041
Carla Yvette Holte Reg. No. 39527-018
Abbas Rauf Kareem Reg. No. 32118-018
Tomma Jean Kent Reg. No. 07879-030
Rick Lee Lamere Reg. No. 34524-086
Michael Tyree Mays Reg. No. 2923 9-()48
.Iavier Mendoza Reg. No. 80324-079
Troy Lamar Morton Reg. No. 19195-058
Jessie Lee Robinson Reg. No. 16954-045

I hereby further commute the total sentence of imprisonment imposed upon Wade
Cutchen, Reg. No. 50492-083, to expire on February 2, 2017. l leave intact and in effect the
five-year term of supervised release with all its conditions and all other components of the
sentence.

I hereby further commute the 262-month sentence of imprisonment imposed upon Jamal
Hanson, Reg. No. 22873-016, in Docket No. 99-208 from the District ofColurnbia and the
consecutive eight-month sentence imposed in Docket No. 04-209 from the District of New
Jersey to expire on September 2, 2016, leaving intact and in effect the five-year term of
supervised release imposed with all its conditions and all other components of the sentence

 

 

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1 hereby further commute the total sentence of imprisonment imposed upon Larry
Lewis, Reg. No.07317-003, to expire on May 5, 2017 . I leave intact and in effect the lO-year
term of supervised release with all its conditions and all other components of the sentence.

I HEREBY DESIGNATE, direct, and empower the Acting Pardon Attomey, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in‘order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

IN 'I`ESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed

Done al the Cr`ly of sthington this fifth
day ofMay in the year afour Lord

Two thousand and sixteen and ofthe
]ndependence ofthe United States the
two hundred andfortz`eth.

' 1

BARACK OBAMA
President

 

